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 6                        UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF CALIFORNIA
 8                                  AT SACRAMENTO
 9
10 ALEXANDRA BERNAL and ALEXIA                    No. 2:16-cv-01802-SB
11 HERRERA, individually and on behalf of
12 all others similarly situated,                 ORDER DISMISSING
13        Plaintiff,                              PLAINTIFF ALEXANDRA
14        v.                                      BERNAL
15 ZUMIEZ, INC., and Does 1 through 10,
16 inclusive,
17        Defendants.
18
19        Before the Court is the parties’ Stipulation to Dismiss Alexandra Bernal as a
20 Class Representative, ECF No. 18. The parties jointly aver that Plaintiff Alexandra
21 Bernal wishes to withdraw as a class representative, that her claims should be
22 dismissed, and that Plaintiff Alexia Herrera shall continue to serve as a putative
23 class representative. Because the parties so stipulate, the Court finds good cause to
24 enter the stipulation and dismiss Ms. Bernal’s claims.
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     ORDER DISMISSING PLAINTIFF ALEXANDRA BERNAL ^ 1
            Case 2:16-cv-01802-SB Document 19 Filed 02/28/17 Page 2 of 2

 1       Accordingly, IT IS HEREBY ORDERED THAT:
 2       1. The claims of Plaintiff Alexandra Bernal are DISMISSED WITHOUT
 3 PREJUDICE. Each side shall bear its own costs.
 4       IT IS SO ORDERED. The Clerk of Court is directed to enter this Order
 5 and forward copies to counsel.
 6       DATED this 27th day of February, 2017.
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 8                                      _______________________________
 9                                              Stanley A. Bastian
                                              United States District Judge
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     ORDER DISMISSING PLAINTIFF ALEXANDRA BERNAL ^ 2
